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                                                  ACKNOWLEDGMENT AND NOTICE OF APPEARANCE

       Short Title: UNITED STATES OF AMERICA v. STEVEN PEREZ                                     Docket No.: 24-162

       Lead Counsel of Record (name/firm) or Pro se Party (name): Barry D. Leiwant, Esq.
       Federal Defenders of New York, Inc.

       Appearance for (party/designation): Defendant-Appellant

                                                 DOCKET SHEET
                                                 DOC    S     AC
                                                              ACKNOWLEDGMENT/AMENDMENTS
                                                                  OW DG     /A   D    S

       Caption as indicated is:
       (□
        ✔ ) Correct
       (□) Incorrect. See attached caption page with corrections.

           Appellate Designation is:
       (□
        ✔ ) Correct

       (□) Incorrect. The following parties do not wish to participate in this appeal:
               Parties:
       (□) Incorrect. Please change the following parties= designations:
               Party                                         Correct Designation


       Contact Information for Lead Counsel/Pro Se Party is:
       (□
        ✔ ) Correct

       (□) Incorrect or Incomplete. As an e-filer, I have updated my contact information in the PACER AManage My Account@ screen.

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       Firm: Federal Defenders of New York, Inc.
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       Telephone: (212) 417-8742                                               Fax: (212) 571-0392
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                                                                     RELATED CASES

       (□
        ✔ ) This case has not been before this Court previously.

       ( ) This case has been before this Court previously. The short title, docket number, and citation are:

       ( ) Matters related to this appeal or involving the same issue have been or presently are before this Court. The short titles,
       docket numbers, and citations are:


                                                                     CERTIFICATION

       I certify that ( ✔ ) I am admitted to practice in this Court and, if required by LR 46.1(a)(2), have renewed my admission on
        DECEMBER 2019  □                       □
                                  OR that ( ) I applied for admission on                                       or renewal on
                                  . If the Court has not yet admitted me or approved my renewal, I have completed Addendum A.
       Signature of Lead Counsel of Record:            %DUU\'/HLZDQW
       Type or Print Name: BARRY D. LEIWANT
                 OR
       Signature of pro se litigant:
       Type or Print Name:
       (□) I am a pro se litigant who is not an attorney.
       (□) I am an incarcerated pro se litigant.
